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        1                                                                Judge: Honorable Mary Jo Heston
                                                                         Chapter: 7
        2                                                                Hearing Location: Tacoma
                                                                         Hearing Date: September 9, 2021
        3                                                                Hearing Time: 9:00 a.m.
                                                                         Response Date: September 2, 2021
        4

        5

        6

        7                                UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF WASHINGTON
        8                                        TACOMA DIVISION

        9     IN RE STEPHEN LEE ATES,
                                                                    No. 21-41090-MJH
       10                                       Debtor.
                                                                    SUPPLEMENTAL
       11                                                           DECLARATION OF LAUREL GIBSON IN
                                                                    REPLY TO DEBTOR’S RESPONSE TO
       12                                                           MOTION TO LIFT STAY

       13

       14         I, Laurel Gibson, being over the age of 18 and competent to testify, state the following:

       15
                  1) On April 1, 2020, I filed a lawsuit In Pierce County Superior Court against Stephen
       16
                       Ates, Kelly Ann Brace and Family Classic Homes Incorporated. Mr. Johns is counsel
       17              for all three Defendants and has been actively litigating on their behalf.

       18         2) Mr. Johns fought our motion for partial summary judgment, our three motions to

       19              compel (two resulting in sanctions of which $900 is still owed), and our motion to
                       amend the complaint. In fact, our trial was originally set to occur in March of 2020
       20
                       but Mr. Johns moved for a continuance ostensibly to hire a forensic accountant.
       21
                  3) Mr. Johns states he is not ready to proceed to trial now because in late May, Mr. Ates
       22              said he would file for bankruptcy. Late May was already 13 months into litigation and
       23              Mr. Ates was actively soliciting business throughout the month of May. Exhibit 1 is a


              SUPPLEMENTAL DECLARATION OF LAUREL GIBSON IN REPLY RE:              BAUMAN & WOLF, PLLC
              AUTOMATIC STAY – PAGE 1                                                POST OFFICE BOX 2095
              Cause No. No. 21-41090-MJH                                              TACOMA, WA 98401
                                                                                       TEL: 206.264.4577
              Case 21-41090-MJH            Doc 27       Filed 09/03/21   Ent. 09/03/21 13:40:09 Pg. 1 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




        1              true and correct email to a prospective customer and Mr. Ates submittal for building

        2              permit during May, a copy of which are attached as Exhibit 2.

        3         4) Throughout the discovery process Mr. Ates has lied and obfuscated to frustrate the
                       process. He has altered profit and loss statements, fabricated a counterclaim, lied
        4
                       under oath during deposition, lied under oath during the 341 creditors meeting, refused
        5              to turn over records, and requested continuances on false pretenses.

        6         5) I believe that Mr. Johns current Declaration statement now that he is not prepared to
        7              go to trial on behalf of FCH and Mr. Ates amounts to two possible scenarios; either he
                       was being disingenuous to Judge Chushcoff on the morning of July 1, 2021 when he
        8
                       answered “ready” to go to trial or he is being disingenuous to this Court now.
        9
                  6) Mr. Ates bankruptcy filing is part of his predesigned scheme to bilk multiple creditors
       10
                       for hundreds of thousands of dollars and walk away from the debt. He told me in
       11              February of 2020 that he was filing for bankruptcy. He then proceeded to collect more
                       than half a million dollars in loans and customer deposits.
       12
                  7) Mr. Ates opposition to this motion to lift the stay is a further tactic to wear down the
       13
                       Plaintiffs so that they “just go away.” Very few people are able to pursue this case as I
       14
                       have been for more than 14 months. Only recently has law enforcement begun its
       15              investigation.

       16         8) I ask this Court to weigh the entire last year of litigation, the volume of filings in State

       17              Court by the Plaintiffs and the inefficiency of starting over with unfamiliar bankruptcy
                       counsel. The Pierce County Superior Court bench is familiar with this case. It would
       18
                       be grossly inefficient and prejudicial to Plaintiffs to have to start over in this Court.
       19              Worse yet, it would further reward Defendants who have been capitalizing for years

       20              on an overburdened regulatory system and an overburdened judicial system.

       21         I declare that the foregoing is true and correct under penalty of perjury by the laws of
                  Washington State and the laws of the United States.
       22                     9/3/2021
                  DATED: _________                             _______________________________
       23                                                      Laurel Gibson Signed in Burien, WA


              SUPPLEMENTAL DECLARATION OF LAUREL GIBSON IN REPLY RE:               BAUMAN & WOLF, PLLC
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              Cause No. No. 21-41090-MJH                                               TACOMA, WA 98401
                                                                                        TEL: 206.264.4577
              Case 21-41090-MJH            Doc 27       Filed 09/03/21    Ent. 09/03/21 13:40:09 Pg. 2 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




                                           EXHIBIT 1


              Case 21-41090-MJH            Doc 27       Filed 09/03/21   Ent. 09/03/21 13:40:09   Pg. 3 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




            From: Donovan Heavener <rusticdecorwa@gmail.com>
            Date: May 17, 2021 at 1:05:45 PM PDT
            To: Tina Heavener           <tinaheavener@gmail.com>
            Subject: Fwd: Family Classic Homes



            Sent from my iPhone

            Begin forwarded message:

            From: steve ates <builderates@gmail.com>
            Date: May 17, 2021 at 11:27:46 AM PDT
            To: rusticdecorwa@gmail.com
            Subject: Family Classic Homes

            Hi Jim,
            A few questions. Does your property have water, Septic,Power? Do you have plans or plan Ideas? Any information
            you can send me would be helpful. When would you be available to meet and discuss?
            Thank you,
            Steve.




              Case 21-41090-MJH            Doc 27       Filed 09/03/21       Ent. 09/03/21 13:40:09          Pg. 4 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




                                           EXHIBIT 2


              Case 21-41090-MJH            Doc 27       Filed 09/03/21   Ent. 09/03/21 13:40:09   Pg. 5 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




              Case 21-41090-MJH            Doc 27       Filed 09/03/21   Ent. 09/03/21 13:40:09   Pg. 6 of 7
DocuSign Envelope ID: E273D15B-34F8-4091-BA30-C66E632AD423




              Case 21-41090-MJH            Doc 27       Filed 09/03/21   Ent. 09/03/21 13:40:09   Pg. 7 of 7
